oer = Document 3 Filed 05/07/21 Page 1 of 5
DISTRIEF COURT UP MARV AND KOS PRINCE GEORGE'S COUNTY
LOCATEO AT (COURT ADDRESS) COMPLAINT/APPLICATION AND AFFIDAVIT

14735 Main Street, Room 173B IN SUPPORT OF JUDGMENT
Upper Marlboro, Maryland [1 $5,000 or under © over $5,000 Bd over $10,060

Clerk: Please docket this case in an action of [_] contract Ix} tort
CASE NO, Clreplevin (_]detinue (] bad faith insurance claim
CV : ' The particulars of this case are: :

  
     

 

  
  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ PARTIES Plaintiff Bridget Leval, by and through her attorney, Edwn K, F ogam,
Melnett hereby sues and demand judgment against the Defendant, Washin gton
BRIDGET LEVAI Metropolitan Transit Authority, and as grounds therefore state as
5910 Upper Court follows:
Bowie, Maryland 20720
/ PLEASE SEE ATTACHED PARTICULARS OF COMPLAINT
VS, ‘,
(sa Serve by: 4
* WASHINGTON METROPOLITAN AREA C1 Certified
AUTHORITY ‘ §e] Private
600 Fifth Street, NW Conc
Washington, DC 20001 shea
Serve by:
2. D Certified
Mail
D Private
Process
DB Constable
O Sheriff
3. UI cen r (See Continuation Sheet)
oO private | The plaintiff claims $ 30,000 , plus interest of $ ;
Process | interest at the [x] legal rate(_]contractual rate calculated at %,
Fr sble from to ( daysx$
j Serve by: per day) and attorney's fees of $e plus court costs.
, Ocecified | (7) Return of the property and damages of $
OPitite for its detention in an action of replevin.
Process. | L] Return of the property, or its value, plus damages of
(0 Constable $ for its detention in action of detinue.
ee 29 2 Other |
ATTORNEYS. and denjands judgm Lfor relie —~ 29 .
For Plaintiff - Name, Address, Telephone Number & Code . ee oh
Edwin K. Fogam (# Signature ofPlsintif/Aitomey/Attorney Code CPF ID No.
Law Offices of Fogam & Associates, LLC Printed Name: EDWIN K, FOGAM
$121 Georgia Avenue, Suite 715 Address: 8121 Georgia Ave, Ste. 715, Silver Spring, MD 20910
Silver Spring, MD 20910 Telephone Number: 301-608-1555
\ Tel:301-608-1555 : Email: ekfogam@fogamlaw.com / Fax: 301-608-1511
E-mail; ekfogam@fogamlaw.com

 

 

 

MILITARY SERVICE AFFIDAVIT
(7 Defendant(s)

z is/are in the military service.
sot ‘ys . . Name,
No defendant is in the military service. The facts supporting this statement are:

 

 

 

 

Specific facis must ba | iven tor the Court to conclude thal each Delendant who is a natural person is notin the enilitary.

 

 

[11 am unable to determine whether or not any defendant is in military service,

I hereby declare or affirm under the penalties of perjury that the facts and inatters set forth in the aforegoingoA ffidavit are true and correct to
the best of my knowledge, information, and belief. * :

mm edt 1 ;
Svef CG vp aw
" Date 7 a ee Signature of Affiant
- rea wae .

APPLICATION AND AFFIDAVIT IN SUPPORT OF JUDGMENT (See Plaintiff Notice on Back Page)
Attached hereto are the indicated documents which contain sufficient detail as to liability and damage to apprise the defendant clearly of the
claim against the defendant, including the amount of any interest claimed.
L] Properly authenticated copy of any note, security agreement upon which claim is based Itemized statement of accountO Interest worksheet

Vouchers O Check (J Other written document 1) Verified itemized repair bill or estimate
1 HEREBY CERTIFY: That 1 am the O plaintiff O ____ of the plaintiff herein and am competent to testi
to the matters stated in this Complaint, which are made on my personal knowledge; that there is Justly due and owing by the defendant to the
plaintiff the sum set forth in the omplaint.

[ solemnly affirm, under the penalties of perjury and upon personal knowledge that the contents of the above Complaint are true and | am
competent to testify to these matters, ‘

 

 

 

Date Signature of A Mant
DC-CV-001 (front) (Rev. 12/2018)
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NOTICE TO DEFENDANT

Before Trial

If you agree that you owe the plaintiff the amount claimed, you may contact the plaintiff (or plaintiff's attorney) before
the trial date to arrange payment. If you wish to contest the claim, you should notify the clerk's office by filing a Notice
of Intent to Defend (located at the bottom of your summons), The case will be set for trial. If you wish to have your
witnesses appear at trial, you should contact the clerk's office at least two weeks before the trial date to request subpoenas,

and you should bring to court on the trial date any evidence you want the court to consider. If you do nothing, a judgment
could be entered against you.

If Jucgment is Entered Against You (If You Lose)
IF YOU DISAGREE WITH THE COURT'S RULING, you may:

!. APPEAL to the circuit court, by filing a Notice of Appeal in the District Court within 30 days after the entry of
judgment. You will have to pay a filing fee (see Guide to Appeal] Fees, DCA-109A), unless the

court determines that you'are indigent. If the amount of the claim, not counting court costs, interest,
and attorney's fees, is:
* more than $5,000, you wiil also have to order and pay for a transcript of the District Court trial
record, by contacting the District Court clerk's office (see Transcripts & Recordings Brochure, DCA-027BR),

* $5,000 or less, you will have a new trial in the circuit court.

On your trial date you should bring with you any evidence that you want the court to consider,

2, Filea MOTION FOR A NEW TRIAL within 10 days after the entry of judgment, stating your reasons clearly. If
the court denies your motion, you may still file an appeal; if the court grants your motion,
you must appear in the District Court for a new trial.

3. Filea MOTION TO ALTER OR AMEND THE JUDGMENT within 10 days after entry of judgment,
4, Filea MOTION TO REVISE OR VACATE THE JUDGMENT within 30 days after entry of judgment.
IF YOU DECIDE NOT TO APPEAL AND NOT TO F ILE ONE OF THE ABOVE MOTIONS, you may contact the

plaintiff or plaintiff's attorney to arrange to pay the amount owed. If you do not pay the amount owed, the plaintiff or
plaintiffs attorney may initiate further proceedings to enforce the judgnient, including:
1, Interrogatories: You must answer these written questions about your income and assets in writing
under penalties of perjury.

Oral Examination: You must appear in court to testify in response to questions about your assets and income.

Writ of Execution: The court may issue a writ requiting the sale or seizure of any of your possessions except,
with some exceptions, property that is exempt from execution. The exemptions are explained in detail on the
reverse side of the Writ of Execution form, DC-CV-040, Furthet, the court could order you to pay additional
expenses such as towing, moving, storage fees, advertising costs, and auctioneer’s fees incurred in executing the
writ,

4. Garnishment of Property: The court nay issue a writ ordering a bank or other agent to hold your
assets until further court proceedings,

5. Garnishment of Wages: The court may issue a writ ordering your employer to withhold a portion of
your wages to pay your debt. The law provides certain exemptions from garnishment.

If you have any questions, you should consult an attorney, The clerk of the court is not permitted to give you legal
advice. More information can be found in court brochures located th the clerk's office or online at:
http://www.mdcourts.gov/district/public_brochures,html.

NOTICE TO PLAINTIFF
REQUESTING A JUDGMENT BY AFFIDAVIT OR DEFAULT:

Federal Law requires the filing of a military service affidavit. Information about the Servicemembers Civil Relief Act and
the required affidavit can be found on the court's website at: http://mdcourts.gov/reference/scra.html.

AFTER THE COURT ENTERS A JUDGMENT:
1. Ifthe court enters 2 judgment for a sum certain, you have the tight to file for a lien on real property.

2, Ifyou disagree with the outcome of the case, you have the same post-trial rights as the defendant does:

you may file an Appeal, a Motion for New Trial, a Motion to Alter or Amend the Judgment or a Motion to Revise or
Vacate the Judgment, See above for further information conceming these rights.

DC-CV-001 (back) (Rev. 12/2018)
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IN THE DISTRICT COURT OF MARYLAND
FOR PRINCE GEORGE’S COUNTY

BRIDGET LEVAI
5910 Upper Court
Bowie, Maryland 20720

Plaintiff

CIVIL CASE

Vv, NO

WASHINGTON METROPOLITAN AREA
TRANSIT AUTHORITY

600 Fifth Street, NW

Washington, DC 20001

Defendant

D W. REDMER, JR.

 

Meet et mee Nome Nome ee ee ee ee Se ed ee ee ee ee ee ee ee a

Baltimore, Maryland 2120

PARTICULARS OF COMPLAINT

Bridget Levai, by and through her attorney, Edwin K. F ogam, hereby sues and demands
judgment against the Defendant Washington Metropolitan Transit Authority, and as

grounds therefore states as follows:

PARTIES AND JURISDICTION

l. At all times relevant hereto, Plaintiff was a:resident of the state of Maryland.

2. At all times relevant hereto, Defendant was a corporation doing business in the
state of Maryland.
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STATEMENT OF FACTS

Plaintiff adopts and incorporates herein the allegations contained in paragraph
1 to 2 of this complaint, and further alleges that: .
3, On September 26, 2017, Plaintiff boarded a bus that was under the control of the
Defendant (Bus 64), The bus stopped on 11" Street, NW Washington DC. When the
Plaintiff was about to get off the bus, the Driver of the bus suddendly lowered the
automatic wheelchair lift.
4, Plaintiff lost her balance and fell. Her right big toe was crushed by the lift. She

also injured her lumber spine, right ankle, right hip and shin.

5, Plaintiff was transported from the scene by ambulance to Washington Hospital
Center,
6, As a direct and proximate result of the accident, the Plaintiff suffered both

specific and general damages.

Cause of Action against the Defendant-Tortious Negligence-Vicarious Liability
Plaintiff adopts and incorporates herein the allegations contained in paragraph
1 to 7 of this complaint, and further alleges that
7. Defendant’s Driver owed the Plaintiff a duty to use reasonable care in driving the
bus, stopping and watching how passengers embark and disembark,
8, Defendant’s Driver was negligent in that he failed to exercise reasonable care to
waich out for the Plaintiff as she disembarked
9, Defendant’s Driver was negligent in that he breached his duty of care.
10. At the time the Defendant’s Driver negligently caused this accident, he was
employed by the Defendant and was operating the bus under the directions of the
Defendant.
WHEREFORE, Plaintiff demands judgment against the Defendants for breach of

contract in the sum of Thirty Thousand Dollars (30,000.00) plus the costs of this action

and such other and further relief as this Court deems appropriate,
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_Béwin K. Eegam
Law Offices of Fogam & Associates, LLC
The World Building
8121! Georgia Avente, Suite 715
Silver Spring, Maryland 20910
Telephone: (301) 340-2020
Attorney for Plaintiff (#8242)
